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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN

                                             )
STEVE SLAVENS, FRANK SLAVENS                 )
and KEVIN LEVY, individually and as          )    CIVIL ACTION NO.:
representatives of a class of participants   )     2:20-cv-13047
                                                  ______________
and beneficiaries on behalf of the Meritor   )
401(k) Plan,                                 )
                                             )    CLASS ACTION COMPLAINT
                              Plaintiffs,    )
                                             )
v.                                           )
                                             )
MERITOR INC., the BOARD OF                   )
DIRECTORS OF MERITOR, INC., the              )
MERITOR, INC. EMPLOYEE                       )
BENEFITS COMMITTEE, MIKE LEI,                )
TIMOTHY HEFFRON, and JOHN DOES               )
1-30,                                        )
                                             )
                               Defendants.   )
                                             )



         Plaintiffs Steve Slavens, Frank Slavens, and Kevin Levy (“Plaintiffs”), by and

through their attorneys, on behalf of the Meritor, Inc. Savings Plan (the “Plan”),1

themselves and all others similarly situated, allege as follows.




1
  The Plan is a legal entity that can sue and be sued. See ERISA § 502(d)(1), 29
U.S.C. § 1132(d)(1). However, in a breach of fiduciary duty action such as this, the
Plan is not a party. Rather, pursuant to ERISA § 409, and the case law interpreting
it, the relief sought in this action is for the benefit of the Plan, its participants and
beneficiaries.
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I.    INTRODUCTION

      1.     This is a class action brought pursuant to §§ 406, 408, 409 and 502 of

the Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§

1106, 1108, 1109 and 1132, against the Plan’s fiduciaries, which include Meritor,

Inc. (“Meritor” or the “Company”), the Board of Directors of Meritor (“Board”) and

its members during the Class Period (defined below), and the Employee Benefit Plan

Committee (“Committee”) and its members during the Class Period for breaches of

their fiduciary duties.

      2.     Defined contribution retirement plans, like the Plan, confer tax benefits

on participating employees to incentivize saving for retirement. According to the

Investment Company Institute, Americans held $7.9 trillion in all employer-based

defined contribution retirement plans as of March 31, 2020, of which $5.6 trillion

was held in 401(k) plans. See INVESTMENT COMPANY INSTITUTE, Retirement

Assets Total $28.7 Trillion in First Quarter 2020 (June 17, 2020).

      3.     In a defined contribution plan, “participants’ retirement benefits are

limited to the value of their own individual investment accounts, which is

determined by the market performance of employee and employer contributions, less

expenses.” Tibble v. Edison Int'l, 575 U.S. 523 (2015). Because all risks related to

high fees and poorly performing investments are borne by the participants, the




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employer has little incentive to keep costs low or to closely monitor the Plan to

ensure every investment remains prudent.

      4.     To safeguard Plan participants and beneficiaries, ERISA imposes strict

fiduciary duties of loyalty and prudence upon employers and other plan fiduciaries.

29 U.S.C. § 1104(a)(1). These twin fiduciary duties are “the highest known to the

law.” Sweda v. Univ. of Pennsylvania, 923 F.3d 320, 333 (3d Cir. 2019), cert. denied

sub nom. Univ. of PA v. Sweda, No. 19-784, 2020 WL 1496631 (U.S. Mar. 30, 2020).

Fiduciaries must act “solely in the interest of the participants and beneficiaries,” 29

U.S.C. § 1104(a)(1)(A), with the “care, skill, prudence, and diligence” that would

be expected in managing a plan of similar scope. 29 U.S.C. § 1104(a)(1)(B).

      5.     Because retirement savings in defined contribution plans grow and

compound over the course of the employee participants’ careers, poor investment

performance and excessive fees can dramatically reduce the amount of benefits

available when the participant is ready to retire. Over time, even small differences

in fees and performance compound and can result in vast differences in the amount

of savings available at retirement. As the Supreme Court has explained, “[e]xpenses,

such as management or administrative fees, can sometimes significantly reduce the

value of an account in a defined-contribution plan.” Tibble v. Edison Int’l, 135 S. Ct.

1823, 1825 (2015).




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        6.     The impact of excessive fees on employees’ and retirees’ retirement

assets is dramatic. The U.S. Department of Labor has noted that a 1% higher level

of fees over a 35-year period makes a 28% difference in retirement assets at the end

of a participant’s career. U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, at 1–2

(Aug. 2013).

        7.     As of December 31, 2019, the Plan had more than $616 million in

assets, and as of December 31, 2018, the Plan had more than $506 million in assets.2

As a large plan, the Plan has substantial bargaining power regarding the fees and

expenses that are charged against participants’ investments. However, instead of

leveraging the Plan’s bargaining power to benefit participants and beneficiaries,

Defendants’ chose poorly performing investments, inappropriate, high cost mutual

fund share classes, and caused the Plan to pay unreasonable and excessive fees for

recordkeeping and other administrative services.

        8.     The Plan’s assets are entrusted to the care of Defendants, who are the

Plan’s fiduciaries, as that term is defined under ERISA § 3(21)(A), 29 U.S.C. §

1002(21)(A). To the extent that Defendants made any attempt to reduce the Plan’s

expenses or to monitor and review the Plan’s investment options, Defendants



2
  Defined contribution retirement plans are generally classified as “Micro” plans
(<$5 million in assets), “Small” plans ($5 million-<$50 million), “Mid” plans ($50
million-<$200 million), “Large” plans ($200 million-<$1 billion), and “Mega” plans
(>$1 billion).
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employed flawed and ineffective processes, which failed to ensure that: (1) the fees

and expenses charged to Plan participants were reasonable, and (2) that each

investment option that was offered by the Plan was prudent.

      9.     Instead, Defendants breached the fiduciary duties to the Plan and its

participants, in violation of 29 U.S.C. § 1104, by: (1) selecting and retaining certain

funds in the Plan despite the availability of virtually identical or similar investment

options with lower costs and/or better performance histories; (2) failing to select the

lowest cost share class for the funds within the Plan; and (3) under-utilizing

collective trusts and separate accounts as alternatives to the mutual funds in the Plan,

despite their lower fees.

      10.    The Plan’s imprudent investment options during the Class Period

include: (1) T. Rowe Price Target date Retirement Funds; (2) T. Rowe Price Mid-

Cap Growth Fund; (3) T. Rowe Price Growth & Income; (4) T. Rowe Price Growth

Stock Fund; and (5) T. Rowe Price Stable Value Common Trust Fund.

      11.    Defendants’ mismanagement of the Plan constitutes a breach of the

fiduciary duties of prudence and loyalty and cost the Plan and its participants

millions of dollars. Based on this conduct, Plaintiffs assert claims against Defendants

for breach of the fiduciary duties of loyalty and prudence (Count One) and failure to

monitor fiduciaries (Count Two).




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II.    JURISDICTION AND VENUE

       12.   This Court has exclusive jurisdiction over the subject matter of this

action under 29 U.S.C. § 1132(e)(1) and 28 U.S.C. § 1331 because it is an action

under 29 U.S.C. § 1132(a)(2) and (3).

       13.   This Court has personal jurisdiction over Defendants because they are

headquartered and transact business in this District, reside in this District, and/or

have significant contacts with this District, and because ERISA provides for

nationwide service of process.

       14.   This District is the proper venue for this action under 29 U.S.C. §

1132(e)(2) and 28 U.S.C. § 1391(b) because it is the district in which the Plans are

administered, where at least one of the alleged breaches took place and where

Defendants reside.

III.   STANDING

       15.   An action under 29 U.S.C. § 1132(a)(2) allows recovery only for a plan,

and does not provide a remedy for individual injuries distinct from plan injuries. See

LaRue v. DeWolff, Boberg & Assocs., Inc., 552 U.S. 248, 256 (2008). The plan is

the victim of any fiduciary breach and the recipient of any recovery. LaRue, 552

U.S. at 254. 29 U.S.C. § 1132(a)(2) authorizes any participant, fiduciary, or the

Secretary of Labor to sue derivatively as a representative of a plan to seek relief on

behalf of the plan. 29 U.S.C. § 1132(a)(2). As explained below, the Plan suffered


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millions of dollars in losses resulting from Defendants’ fiduciary breaches and

remains exposed to harm and continuing losses, and those injuries may be redressed

by a judgment of this Court in favor of Plaintiffs. To the extent the Plaintiffs must

also show an individual injury even though 29 U.S.C. § 1132(a)(2) does not provide

redress for individual injuries, each Plaintiff has suffered such an injury, in at least

the following ways:

      16.    Each Plaintiff has standing to bring this action on behalf of the Plan

because each of them participated in the Plan and suffered financial harm as a result

of the imprudent investment options in the Plan because Defendants’ selection and

retention of those options deprived participants of the opportunity to grow their

retirement savings by investing in prudent options with reasonable fees, which

would have been available in the Plan if Defendants had satisfied their fiduciary

obligations. All participants continue to be harmed by the ongoing inclusion of these

imprudent options.

      17.    Plaintiffs’ individual accounts in the Plan were harmed because they

invested in investment options that would have been removed from the Plan had

Defendants discharged their fiduciary duties. These investment options

underperformed numerous prudent alternatives that were available to the Plan,

resulting in a loss of retirement savings.




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      18.    Plaintiffs are entitled to receive damages in the amount of the difference

between the value of their accounts currently, or as of the time their accounts were

distributed, and what their accounts are or would have been worth, but for

Defendants’ breaches of fiduciary duty as described herein.

IV.   PARTIES

             Plaintiffs

      19.    Plaintiff Stephen Slavens resides in Clover, South Carolina. During his

employment with Meritor, Inc., Plaintiff Stephen Slavens participated in the Plan,

investing in the T. Rowe Price Retirement 2025.

      20.    Plaintiff Frank Slavens resides in Clover, South Carolina. During his

employment with Meritor, Inc., Plaintiff Frank Slavens participated in the Plan,

investing in certain options offered by the Plan, including: T. Rowe Price Retirement

2020, T. Rowe Price Retirement 2025, T. Rowe Price Retirement 2030, T. Rowe

Price Growth & Income, and TRP Stable Value Fund – N.

      21.    Plaintiff Kevin Levy resides in Detroit, Michigan. During his

employment with Meritor, Inc., Plaintiff Levy participated in the Plan, investing in

the T. Rowe Price Retirement 2025 Fund.

      22.    Plaintiffs did not have and do not have actual knowledge of the specifics

of Defendants’ decision-making process with respect to the Plan, including

Defendants’ processes (and execution of such) for selecting, monitoring, and


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removing Plan investments, because this information is solely within the possession

of Defendants prior to discovery. Plaintiffs did not and could not review the

Committee meeting minutes or other evidence of Defendants’ fiduciary decision

making, or the lack thereof. For purposes of this Complaint, Plaintiffs have drawn

reasonable inferences regarding these processes based upon (among other things)

the facts set forth herein.

              Defendants

       23.    Defendant Meritor Inc. (“Meritor” or the “Company”) is an Indiana

corporation that maintains its principal executive offices at 2135 W. Maple Rd.,

Troy, Michigan 48084.

       24.    Defendant Meritor is a global supplier of a broad range of integrated

systems, modules and components to original equipment manufacturers (“OEMs”)

and the aftermarket for the commercial vehicle, transportation and industrial sectors.

It serves commercial truck, trailer, military, bus and coach, construction, and other

industrial OEMs and certain aftermarkets. Its principal products are axles,

suspension systems, drivelines and brakes.

       25.    Meritor is the Plan sponsor, administrator, and a fiduciary of the Plan

within the meaning of ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A), because:

(a) Meritor is a named fiduciary under the Plan, (b) during the Class Period, it

exercised discretionary authority and control over Plan management and/or authority


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or control over management or disposition of Plan assets, and (c) it appointed Plan

fiduciaries through Meritor’s Board of Directors (the “Board”), or a committee of

the Board, which was entrusted with the authority to control the management,

operation and administration of the Plan.

      26.    At all times relevant to this action, Meritor is a named fiduciary of the

Plan and has been responsible for handling the day-to-day operations of the Plan.

While the Company has delegated certain of its fiduciary responsibilities to the

Committee and the Plan Administrator, it nonetheless remains a fiduciary of the Plan

under ERISA.

             Board Defendants

      27.    Each member of the Meritor Board of Directors during the putative Class

Period (including, but not limited to, Jan A. Bertsch, Rodger L. Boehm, Rhonda L.

Brooks, Thomas L. Pajonas, Steven Beringhause, Ivor J. Evans, William R. Newlin,

and Lloyd G. Trotter) is/was a fiduciary of the Plan, within the meaning of ERISA

Section 3(21)(A), 29 U.S.C. § 1002(21)(A) during the Class Period, because each

exercised discretionary authority to appoint and monitor Plan fiduciaries who had

control over Plan management and/or authority or control over management or

disposition of Plan assets.

      28.    Under ERISA, fiduciaries with the power to appoint have the

concomitant fiduciary duty to monitor and supervise their appointees.

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      29.    On information and belief, the Board has discretion to authorize Meritor

to contribute annual profit-sharing amounts to the Plan participants.

             Committee Defendants

      30.    On information and belief, Meritor has delegated certain administrative

and investment related duties to the Committee and the Plan Administrator. The Plan

Administrator and the members of the Committee are named fiduciaries of the Plan.

      31.    On information and belief, the Committee is responsible for the

following Plan functions:

                  To act as a “Named Fiduciary” under ERISA with respect to the
                   control and management of assets of the Plan and provide
                   oversight of the investments and funding policies and objectives
                   of the Plan.

                  Establish and periodically review the investment management
                   policies and/or guidelines of the Plan.

                  Approve the appointment of investment managers for the Plan,
                   and the policies and operating procedures governing investment
                   managers.

                  Monitor the investment performance of the Plan.

                  Receive, review and keep on file reports of investment
                   performance, financial condition, receipts and disbursements of
                   the Plan’s assets.

                  Appoint and retain individuals to assist in the administration of
                   the Committee’s duties under the Committee Charter and under
                   the Plan, including consulting services as it may require or as
                   may be required by any applicable law or laws.

                  Appoint and remove the trustee for the Plan and the Plan’s trust.

                  Report to the Board.
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      32.    Defendant Mike Lei (“Lei”) has been Meritor’s Vice President,

Treasurer and Compensation & Benefits since April 2018, and he was the Senior

Director, Compensation & Benefits from February 2014 until April 2018. On

information and belief, Lei was a member of the Committee during the Class Period.

In addition, Lei signed the Plan’s forms 5500 filed with the U.S. Department of

Labor on behalf of the employer or sponsor of the Plan for each year during the Class

Period. Accordingly, Lei has served as a fiduciary of the Plan during the Class

Period.

      33.    Defendant Timothy Heffron (“Heffron”), has been Meritor’s Senior

Vice President, Human Resources and Chief Information Officer since 2016, and

previously served as the Company’s Vice President, Human Resources & Chief

Information Officer. On information and belief, Heffron was a member of the

Committee during the Class Period.

      34.    The Committee and each of its members were fiduciaries of the Plan

during the Class Period, within the meaning of ERISA Section 3(21)(A), 29 U.S.C.

§ 1002(21)(A) because each exercised discretionary authority over management or

disposition of Plan assets.

      35.    The Committee and the unnamed members of the Committee during

the Class Period (referred to herein as John Does 1-10), are collectively referred to

herein as the “Committee Defendants.”

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             Additional John Doe Defendants

      36.    To the extent that there are additional officers and employees of Meritor

who are/were fiduciaries of the Plan during the Class Period, or were hired as an

investment manager for the Plan during the Class Period, the identities of whom are

currently unknown to Plaintiffs, Plaintiffs reserve the right, once their identities are

ascertained, to seek leave to join them to the instant action. Thus, without limitation,

unknown “John Doe” Defendants 11-21 include, but are not limited to, Meritor

officers and employees who are/were fiduciaries of the Plan within the meaning of

ERISA Section 3(21)(A), 29 U.S.C. § 1002(21)(A) during the Class Period.

V.    THE PLAN

      37.    The Plan, established effective October 1, 1997, is a single-employer

“defined contribution” or “individual account” plan within the meaning of ERISA §

3(34), 29 U.S.C. § 1002(34), in that the Plan provides for individual accounts for each

participant and for benefits based solely upon the amount contributed to those

accounts, and any income, expense, gains and losses, and any forfeitures of

accounts of the participants which may be allocated to such participant’s account.

Consequently, retirement benefits provided by the Plan are based solely on the

amounts allocated to each individual’s account.




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      38.    The Trustee for the Plan is T. Rowe Price Trust Company. See Meritor,

Inc. Form 5500 for period ending December 31, 2018 filed with the U.S. Department

of Labor (hereinafter “Form 5500”), Notes to Financial Statements at 4.

       Eligibility

      39.    The Plan covers “eligible salaried and certain non-union hourly

employees of Meritor, Inc. and other affiliated companies. Eligible employees may

participate in the Plan immediately on the date they become employees.” Form 5500

for December 31, 2018, Notes to Financial Statement at 4.

       Contributions
      40.    Eligible employees may contribute up to 50% of their compensation per

year, subject to limitations of the Internal Revenue Code (the “Code”). Such

contributions may be on a pre-tax or after-tax basis. Participants may also make

rollover contributions from other qualified plans or IRAs. Participants direct the

investment of their contributions into various investment options offered by the Plan.

Meritor, Inc. Form 5500 for December 31, 2018, Notes to Financial Statements p. 4.

      41.    The Plan offers primarily mutual funds as investment options for

participants. It also offers the Stable Value Common Trust Fund and the Company’s

own common stock. Participant contributions are recorded on a cash basis which is

the same as or approximates the period during which the Company makes payroll

deductions from the participant’s earnings.


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      42.    Eligible newly hired employees are automatically enrolled into the Plan

30 days after their hire date. Employees are enrolled with a default contribution rate

of 3% of compensation but may contact the Plan administrator to opt out or change

the election. Eligible employees who are making contributions of less than 6% of

their compensation are enrolled in automatic escalation, which upwardly adjusts the

contribution percentage by 1% each adjustment period until it reaches 6% The

participant may affirmatively opt-out of the escalation. Form 5500 for December 31,

2018, Notes to Financial Statements, at 4.

      The Plan’s Investments

      43.    Various funds were available to Plan participants for investment during

the Class Period, including funds from T. Rowe Price, American Century,

Blackrock, Dodge & Cox, Vanguard and Metropolitan West.

      44.    On   information    and    belief,   the   Committee    determines    the

appropriateness of the Plan’s investment offerings and monitors investment

performance.

VI.   CLASS ACTION ALLEGATIONS

      45.    Plaintiffs bring this action as a class action pursuant to Fed. R. Civ. P.

23 on behalf of themselves and the following proposed class (“Class”):3




3
  Plaintiffs reserve the right to propose other or additional classes or subclasses in
their motion for class certification or subsequent pleadings in this action.
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            All persons, except Defendants and their immediate family
            members, who were participants in or beneficiaries of the Plan,
            at any time between November 13, 2014 and the present (the
            “Class Period”).

      46.   The members of the Class are so numerous that joinder of all members

is impractical. According to the Form 5500 filed with the U.S. Department of Labor,

as of December 31, 2019, there were 4,919 Plan participants with account balances.

      47.   Plaintiffs’ claims are typical of the claims of the members of the Class.

Like other Class members, Plaintiffs participated in the Plan and have suffered

injuries as a result of Defendants’ mismanagement of the Plan. Defendants treated

Plaintiffs consistently with other Class members, and managed the Plan as a single

entity. Plaintiffs’ claims and the claims of all Class members arise out of the same

conduct, policies, and practices of Defendants as alleged herein, and all members of

the Class have been similarly affected by Defendants’ wrongful conduct.

      48.   There are questions of law and fact common to the Class, and these

questions predominate over questions affecting only individual Class members.

Common legal and factual questions include, but are not limited to:

            A.     Whether Defendants are fiduciaries of the Plan;

            B.     Whether Defendants breached their fiduciary duties of loyalty and
                   prudence by engaging in the conduct described herein;

            C.     Whether the Board Defendants failed to adequately monitor the
                   Committee and other fiduciaries to ensure the Plan was being
                   managed in compliance with ERISA;

            D.     The proper form of equitable and injunctive relief; and
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             E.     The proper measure of monetary relief.

      49.    Plaintiffs will fairly and adequately represent the Class, and have

retained counsel experienced and competent in the prosecution of ERISA class

action litigation. Plaintiffs have no interests antagonistic to those of other members

of the Class. Plaintiffs are committed to the vigorous prosecution of this action, and

anticipate no difficulty in the management of this litigation as a class action.

      50.    This action may be properly certified under Fed. R. Civ. P. 23(b)(1).

Class action status in this action is warranted under Fed. R. Civ. P. 23(b)(1)(A)

because prosecution of separate actions by the members of the Class would create a

risk of establishing incompatible standards of conduct for Defendants. Class action

status is also warranted under Fed. R. Civ. P. 23(b)(1)(B) because prosecution of

separate actions by the members of the Class would create a risk of adjudications

with respect to individual members of the Class that, as a practical matter, would be

dispositive of the interests of other members not parties to this action, or that would

substantially impair or impede their ability to protect their interests.

      51.    In the alternative, certification under Fed. R. Civ. P. 23(b)(2) is

warranted because the Defendants have acted or refused to act on grounds generally

applicable to the Class, thereby making appropriate final injunctive, declaratory, or

other appropriate equitable relief with respect to the Class as a whole.




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VII. DEFENDANTS’ FIDUCIARY STATUS AND OVERVIEW OF
     FIDUCIARY DUTIES

      52.    ERISA requires every plan to provide for one or more named

fiduciaries who will have “authority to control and manage the operation and

administration of the plan.” ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1).

      53.    ERISA treats as fiduciaries not only persons explicitly named as

fiduciaries under § 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons

who in fact perform fiduciary functions. Thus, a person is a fiduciary to the extent

“(i) he exercises any discretionary authority or discretionary control respecting

management of such plan or exercise any authority or control respecting

management or disposition of its assets, (ii) he renders investment advice for a fee

or other compensation, direct or indirect, with respect to any moneys or other

property of such plan, or has any authority or responsibility to do so, or (iii) he has

any discretionary authority or discretionary responsibility in the administration of

such plan.” ERISA § 3(21)(A)(i), 29 U.S.C. § 1002(21)(A)(i).

      54.    As described above, Defendants were fiduciaries of the Plan because:

             (a)    they were so named; and/or

             (b)    they exercised authority or control respecting management or
                    disposition of the Plan’s assets; and/or

             (c)    they exercised discretionary authority or discretionary control
                    respecting management of the Plan; and/or

             (d)    they had discretionary authority or discretionary responsibility
                    in the administration of the Plan.
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      55.    As fiduciaries, Defendants are/were required by ERISA § 404(a)(1), 29

U.S.C. § 1104(a)(1), to manage and administer the Plan, and the Plan’s investments,

solely in the interest of the Plan’s participants and beneficiaries and with the care,

skill, prudence, and diligence under the circumstances then prevailing that a prudent

person acting in a like capacity and familiar with such matters would use in the

conduct of an enterprise of a like character and with like aims. These twin duties are

referred to as the duties of loyalty and prudence, and they are “the highest known to

the law.” Sweda, 923 F.3d at 333.

      56.    The duty of loyalty requires fiduciaries to act with an “eye single” to

the interests of plan participants. Pegram v. Herdrich, 530 U.S. 211, 235 (2000).

“Perhaps the most fundamental duty of a [fiduciary] is that he [or she] must

display…complete loyalty to the interests of the beneficiary and must exclude all

selfish interest and all consideration of the interests of third persons.” Pegram, 530

U.S. at 224 (quotation marks and citations omitted).

      57.    “Thus, in deciding whether and to what extent to invest in a particular

investment, a fiduciary must ordinarily consider only factors relating to the

interests of plan participants and beneficiaries in their retirement income. A

decision to make an investment may not be influenced by non-economic factors

unless the investment, when judged solely on the basis of its economic value to the

plan, would be equal or superior to alternative investments available to the plan.”

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U.S. Dep’t of Labor ERISA Adv. Op. 88-16A, 1988 WL 222716, at *3 (Dec. 19,

1988) (emphasis added).

      58.    In effect, the duty of loyalty includes a mandate that the fiduciary

display complete loyalty to the beneficiaries, and set aside the consideration of third

persons. See In re WorldCom, Inc., 263 F. Supp. 2d 745, 758 (S.D.N.Y. 2003) (“An

ERISA fiduciary must ‘conduct a careful and impartial investigation’ of the merits

and appropriate structure of a plan investment.”) (quoting Flanigan v. Gen. Elec.

Co., 242 F.3d 78, 86 (2d Cir. 2001)).

      59.    ERISA also “imposes a ‘prudent person’ standard by which to measure

fiduciaries’ investment decisions and disposition of assets.” Fifth Third Bancorp v.

Dudenhoeffer, 573 U.S. 409 (2014) (quotation omitted). In addition to a duty to

select prudent investments, under ERISA a fiduciary “has a continuing duty to

monitor [plan] investments and remove imprudent ones” that exists “separate and

apart from the [fiduciary’s] duty to exercise prudence in selecting investments.”

Tibble, 575 U.S. 523. “[A] fiduciary cannot free himself from his duty to act as a

prudent man simply by arguing that other funds...could theoretically, in combination,

create a prudent portfolio.” In re Am. Int'l Grp., Inc. ERISA Litig. II, No. 08 CIV.

5722 LTS KNF, 2011 WL 1226459, at *4 (S.D.N.Y. Mar. 31, 2011) (quoting

DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 418 n.3, 423–24 (4th Cir. 2007)).




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      60.    In addition, ERISA § 405(a), 29 U.S.C. § 1105(a) (entitled “Liability

for breach by co-fiduciary”) further provides that:

      [I]n addition to any liability which he may have under any other
      provision of this part, a fiduciary with respect to a plan shall be liable for
      a breach of fiduciary responsibility of another fiduciary with respect to
      the same plan in the following circumstances: (A) if he participates
      knowingly in, or knowingly undertakes to conceal, an act or omission
      of such other fiduciary, knowing such an act or omission is a breach;
      (B) if, by his failure to comply with section 404(a)(1), 29 U.S.C.
      §1104(a)(1), in the administration of his specific responsibilities which
      give rise to his status as a fiduciary, he has enabled such other fiduciary
      to commit a breach; or (C) if he has knowledge of a breach by such other
      fiduciary, unless he makes reasonable efforts under the circumstances
      to remedy the breach.

      61.    During the Class Period, Defendants did not act in the best interests of

the Plan participants. Investment fund options chosen for a plan should not favor the

fund provider over the plan’s participants. Yet, here, to the detriment of the Plan and

its participants and beneficiaries, the Plan’s fiduciaries included and retained in the

Plan many mutual fund investments that were more expensive than necessary and

otherwise were not justified on the basis of their economic value to the Plan.

       62. Based on reasonable inferences from the facts set forth in this

 Complaint, during the Class Period Defendants failed to have a proper system of

 review in place to ensure that participants in the Plan were being charged

 appropriate and reasonable fees for the Plan’s investment options. Additionally,

 Defendants failed to leverage the size of the Plan to negotiate lower expense ratios



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 for certain investment options maintained and/or added to the Plan during the Class

 Period.

      63.    As discussed below, Defendants breached fiduciary duties to the Plan

and its participants and beneficiaries and are liable for their breaches and the

breaches of their co- fiduciaries under 29 U.S.C. § 1104(a)(1) and 1105(a).

VIII. SPECIFIC ALLEGATIONS

      A.     Improper Management of an Employee Retirement Plan Can
             Cost the Plan’s Participants Millions in Savings

      64.    Under 29 U.S.C. § 1104(a)(1), a plan fiduciary must provide diversified

investment options for a defined-contribution plan while also giving substantial

consideration to the cost of those options. “Wasting beneficiaries’ money is

imprudent. In devising and implementing strategies for the investment and

management of trust assets, trustees are obligated to minimize costs.” Uniform

Prudent Investor Act (the “UPIA”) § 7.

      65.    The Restatement … instructs that ‘cost-conscious management is

fundamental to prudence in the investment function,’ and should be applied ‘not only

in making investments but also in monitoring and reviewing investments.’” Tibble

v. Edison Int'l, 843 F.3d 1187, 1197–98 (9th Cir. 2016) (quoting Restatement (Third)

of Trust § 90, cmt. b). See also U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, at

2 (Aug. 2013) (“You should be aware that your employer also has a speciﬁc

obligation to consider the fees and expenses paid by your plan ... Employers are held

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to a high standard of care and diligence and must discharge their duties solely in the

interest of the plan participants and their beneﬁciaries.”).4

      66.    As the Ninth Circuit explained, higher fees of only 0.18% to 0.4% can

have a large effect on a participant’s investment results over time because

“[b]eneficiaries subject to higher fees for materially identical funds lose not only the

money spent on higher fees, but also ‘lost investment opportunity’; that is, the money

that the portion of their investment spent on unnecessary fees would have earned

over time.” Tibble, 843 F.3d at 1198.

      67.    The Ninth Circuit provided an example of the impact of higher fees

over a 40-year period, stating:

      As a simple example, if a beneficiary invested $10,000, the investment
      grew at a rate of 7% a year for 40 years, and the fund charged 1% in
      fees each year,4 at the end of the 40-year period the beneficiary’s
      investment would be worth $100,175. If the fees were raised to 1.18%,
      or 1.4%,5 the value of the investment at the end of the 40-year period
      would decrease to $93,142 and $85,198, respectively.

Id.

      68.    Most participants in 401(k) plans expect that their 401(k) accounts will

be their principal source of income after retirement. “The 401(k) is the major source




4
     Available at: https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-
activities/resource-center/publications/a-look-at-401k-plan-fees.pdf (last visited
Nov. 13, 2020).
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people think they are going to rely on.”5 Although at all times 401(k) accounts are

fully funded, that does not prevent plan participants from losing money on poor

investment choices of plan sponsors and fiduciaries, whether due to poor

performance, high fees, or both.

      69.    Indeed, the Department of Labor has stated that employers are held to

a “high standard of care and diligence” and must both “establish a prudent process

for selecting investment options and service providers” and “monitor investment

options and service providers once selected to see that they continue to be

appropriate choices,” among other duties. See “A Look at 401(k) Plan Fees,” supra.

      70.    The duty to evaluate and monitor fees and investment costs includes

fees paid directly by plan participants to investment providers, usually in the form

of an expense ratio or a percentage of assets under management within a particular

investment. See Investment Company Institute (“ICI”), The Economics of Providing

401(k) Plans: Services, Fees, and Expenses, at 4 (July 2016).6 “Any costs not paid

by the employer, which may include administrative, investment, legal, and

compliance costs, effectively are paid by plan participants.” Id. at 5.




5
  Brandon, Emily, “10 Essential Sources of Retirement Income,” (May 6, 2011),
available at: https://money.usnews.com/money/retirement/slideshows/10-essential-
sources-of-retirement-income (last visited Nov. 13, 2020).
6
  Available at: https://www.ici.org/pdf/per24-04.pdf (last visited Nov. 13, 2020).
                                          24
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      71.    The fiduciary task of evaluating investments and investigating

comparable alternatives in the marketplace is made much simpler by the advent of

independent research from companies like Morningstar, which categorizes funds to

“help investors and investment professionals make meaningful comparisons

between funds. The categories make it easier to build well-diversified portfolios,

assess potential risk, and identify top-performing funds. [Morningstar] place[s]

funds in a given category based on their portfolio statistics and compositions over

the past three years.”7

      72.    On average, there are lower expense ratios for 401(k) participants than

those for other investors. See The Economics of Providing 401(k) Plans, at 11.

ERISA-mandated monitoring of investments leads prudent and impartial plan

sponsors to continually evaluate performance and fees, resulting in great competition

among mutual funds in the marketplace. Furthermore, the large average account

balances of 401(k) plans, especially the largest ones as measured by assets managed,

lead to economies of scale and special pricing within mutual funds. See id at 10. This

has led to falling mutual fund expense ratios for 401(k) plan participants since 2000.

In fact, these expense ratios fell 31 percent from 2000 to 2015 for equity funds, 25

percent for hybrid funds, and 38 percent for bond funds. See id. at 1.



7
  Available at http://www.morningstar.com/InvGlossary/morningstar_category.aspx
(last visited Nov. 13, 2020).
                                         25
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      73.    Other industry experts have also taken note of this trend, observing:

“On average, the fees 401(k) participants pay for funds that invest in stocks fell from

0.77% of assets in 2000 to 0.74% in 2009, before dropping sharply to 0.54% in 2014,

according to ICI, a mutual-fund-industry trade group. Fee reductions have also

accelerated on bond funds and a hybrid category that includes popular all-in-one

target-date funds.” Anne Tergesen, 401(k) Fees, Already Low, Are Heading Lower,

THE WALL STREET JOURNAL (May 15, 2016).

       74.   Thus, prudent and impartial plan fiduciaries should continuously

monitor both the performance and cost of the investments selected for their 401(k)

plans, as well as investigating alternatives in the marketplace to ensure that well-

performing, low cost investment options are being made available to plan

participants.

             1.     Passively Managed Funds Cost Less Than Actively
                    Managed Funds

      75.    Courts have noted that “an ERISA fiduciary’s duty is derived from the

common law of trusts.” Tibble, 575 U.S. 523 (quotations and citations omitted). See

also Varity Corp. v. Howe, 516 U.S. 489, 496 (1996) (ERISA “fiduciary duties draw

much of their content from the common law of trusts”). Thus, to the extent that ERISA

is silent on the appropriate standard for selection and retention of investment options

for a plan, courts should seek guidance from trust law. Varity Corp., 516 U.S. at 496–

97.
                                          26
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      76.    Under the common law of trusts, the determination as to whether the

selection of an investment is appropriate depends on “the type of trustee and the

nature of the breach involved, the availability of relevant data, and other facts and

circumstances of the case.” Restatement (Third) of Trusts § 100 cmt. b(1) (2012).

The relevant factor that may be considered include “return rates of one or more

suitable common trust funds, or suitable index mutual funds or market indexes (with

such adjustments as may be appropriate).” Id.

      77.    Here, each investment option within the Plan charged certain fees that

are paid by deductions from the pool of assets held by the Plan. For passively

managed funds, which are designed to track a market index like the Standard &

Poor’s 500, securities were purchased to match the mix of companies within the

index. Because they are simply a mirror of an index, these funds offer both diversity

of investment and comparatively low fees.

      78.    By contrast, the Plan’s actively managed funds, which have a mix of

securities selected by the fund manager based on his or her belief they will beat the

market, have caused the Plan to pay higher fees in order to compensate the fund

managers and their associates for the work associated with stock picking.

      79.    While higher-cost mutual funds may outperform less-expensive

passively managed index funds in the short term, they rarely do so in the long term.

As noted by Jonnelle Marte in The Washington Post, Do Any Mutual Funds Ever

                                         27
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Beat the Market? Hardly (Mar. 17, 2015), a study by S&P Dow Jones Indices that

analyzed 2,862 actively managed mutual domestic stock mutual funds over a five-

year period, found that “just two funds...managed to hold on to their berths in the

top quarter every year for five years running. And for the 2,862 funds as a whole,

that record is even a little worse than you would have expected from random chance

alone.”8 Thus, the funds in the top quartile in performance failed to replicate

performance from year to year. See also Index funds trounce actively managed

funds: Study (June 26, 2015) (reporting that data shows that “actively managed funds

lagged their passive counterparts across nearly all asset classes, especially over a 10-

year period from 2004 to 2014.”)9

      80.    Indeed, funds with high fees on average perform worse than less

expensive funds, even on a pre-fee basis. Javier Gil-Bazo & Pablo Ruiz-Verdu,

When Cheaper is Better: Fee Determination in the Market for Equity Mutual Funds,

67 J. Econ. Behav. & Org. 871, 873 (2009) (hereinafter “When Cheaper is Better”);

see also Jill E. Fisch, Rethinking the Regulation of Securities Intermediaries, 158 U.

Pa. L. Rev. 1961, 1967–75 (2010) (summarizing numerous studies showing that “the

most consistent predictor of a fund’s return to investors is the fund’s expense ratio”).



8
  Available at: https://www.washingtonpost.com/news/get-there/wp/2015/03/17/do-
any-mutual-funds-ever-beat-the-market-hardly/ (last visited Nov. 13, 2020).
9
   Available at https://www.cnbc.com/2015/06/26/index-funds-trounce-actively-
managed-funds-study.html (last visited Nov. 13, 2020).
                                          28
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      81.    Here, the Plan is dominated by expensive actively managed funds,

including 18 funds from T. Rowe Price, which domination reflects a flawed fiduciary

process. The Plan presently includes only two lower-cost passively managed index

funds, the Vanguard Institutional Index Fund and the Total Intl Stock Index Fund.

      82.    As shown in the charts below, the selection of these actively managed

funds for the Plan was imprudent because the chosen actively managed funds had

high expense ratios and rarely, if ever, performed any better than far less expensive

passively managed index funds.

             2.    Institutional Share Classes Cost Less Than Investor Share
                   Classes

      83.    Many mutual funds offer multiple classes of shares in a single mutual

fund that are targeted at different investors. Generally, more expensive share classes

are sold to individual investors who have less bargaining power, while lower cost

shares are sold to institutional investors with more assets, generally $1 million or

more, and therefore greater bargaining power. There is no difference between share

classes other than cost—the funds hold identical investments and have the same

manager.

      84.    Large defined contribution plans such as the Plan have sufficient assets

to qualify for the lowest cost share class available. Even when a retirement plan does

not meet the investment minimum to qualify for the cheapest available share class,

it is well-known among institutional investors that mutual fund companies will

                                         29
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typically waive those investment minimums for a large plan willing to add the fund

to its menu of designated investment options. Thus, a fiduciary of a large defined

contribution plan such as the Plan can use its asset size and negotiating power to

invest in the cheapest share class available. For this reason, prudent retirement plan

fiduciaries will search for and select only the lowest-priced share class available.

      85.    The availability of lower-cost institutional class shares for large defined

benefit plans has been widely known throughout the Class Period. For instance, a

February 2016 article by the head of a fiduciary consulting firm described the failure

to investigate the availability of and subsequently utilize the lowest-cost share class

as an “egregious fiduciary breach[]” that is responsible for “[w]asting plan assets”

in a manner that is “clearly imprudent.” Blaine Aikin, Recent Class-Action Surge

Ups the Ante for 401(k) Advice, InvestmentNews.com (Feb. 18, 2016).10

      86.    Indeed, a court observed that “[b]ecause the institutional share classes

are otherwise identical to the Investor share classes, but with lower fees, a prudent

fiduciary would know immediately that a switch is necessary. Thus, the ‘manner that

is reasonable and appropriate to the particular investment action, and strategies

involved…in this case would mandate a prudent fiduciary – who indisputably has

knowledge of institutional share classes and that such share classes provide identical



10
   Available at: https://www.investmentnews.com/recent-class-action-surge-ups-
the-ante-for-401k-advice-66056 (last visited Nov. 13, 2020).
                                          30
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investments at lower costs – to switch share classes immediately.” Tibble v. Edison

Int’l., No. 07-cv-5359 SVW (AGRx), slip op. at 13 (C.D. Cal. Aug. 16, 2017). Thus,

it is incumbent upon large plan fiduciaries, like Defendants, to select the lowest-cost

class of shares that is available to the Plan.

      87.    Here, as demonstrated in the “Share Class and Collective Trust Chart”

below, either a lower cost institutional share class or a collective trust, both of which

performed the same or better than the higher-cost share class in which the Plan’s

funds were invested, was available for each of the T. Rowe Price funds included in

the Plan.

             3.     Defendants Underutilized Collective Trusts and Separate
                    Accounts as Investment Options for the Plan

        88. Plan fiduciaries such as Defendants here must be continually mindful of

 investment options to ensure they do not unduly risk plan participants’ savings and

 do not charge unreasonable fees. Some of the best investment vehicles for these

 goals are collective trusts, which pool plan participants’ investments further and

 provide lower fee alternatives than even institutional and 401(k) plan specific shares

 of mutual funds. Trust law specifically identifies “one or more suitable common

 trust funds” as a comparator to determine whether a trust is invested in suitable

 investments. Restatement (Third) of Trusts § 100 cmt. b(1) (2012).

      89.    Collective trusts are administered by banks or trust companies, which

assemble a mix of assets such as stocks, bonds and cash. Regulated by the Office of

                                           31
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the Comptroller of the Currency rather than the Securities and Exchange

Commission, collective trusts have simple disclosure requirements, and cannot

advertise or issue formal prospectuses. As a result, their costs are significantly lower,

with less or no administrative costs, and less or no marketing or advertising costs.

See Powell, Robert, Not Your Normal Nest Egg, The Wall Street Journal, March

2013.

         90.   Due to their potential to reduce overall plan costs, collective trusts have

become widely popular; Use of CITs in DC Plans Booming (discussing data showing

that among both mid-size and large defined contribution plans, significantly more

assets are held in collective trusts than in mutual funds). Indeed, as of 2012, among

plans over $1 billion in size, more assets were held in collective trusts than in

mutual funds. See Investment Company Institute, A Close Look at 401(k) Plans, at

21, 23 (Dec. 2014).11

         91.   The criticisms leveled against collective trust vehicles in the past no

longer apply. Collective trusts use a unitized structure and the units are valued

daily; as a result, participants invested in collective trusts can track the daily

performance of their investments online. See Paula Aven Gladych, CITs Gaining

Ground in 401(k) Plans, Employee Benefit News (Apr. 14, 2016) (herein, “CITs




11
     Available at https://www.ici.org/pdf/ppr_14_dcplan_profile_401k.pdf .
                                             32
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Gaining Ground”).12 Many if not most mutual fund strategies are available in

collective trust format, and the investments in the collective trusts are identical to

those held by the mutual fund. Id. And because collective trusts contract directly

with the plan, and provide regular reports regarding costs and investment holdings,

the Plan has the same level of protection that the Investment Company Act provides

to individual investors. Also, collective trusts are subject to state and federal

banking regulations that provide comparable protections. American Bankers

Association, ABA Primer on Bank Collective Funds, at 1 (June 2015).

      92.    In fact, as Joseph F. Martel, a multi-asset portfolio specialist for T.

Rowe Price has publicly stated, the T. Rowe Price Retirement Trusts collective trust

has “‘the same portfolio management team, glidepath, subasset-class exposure,

tactical allocation overlay and underlying investments’ as the mutual fund-based T.

Rowe Price Retirement Funds target-date series.” See CIT Target Date Assets

Surging As Mutual Funds Hit Outflows, Pension & Investments (June 24, 2019). Mr.

Martel also explained that, depending on various factors such as total assets, the

collective investment trust pricing can be as low as 32 basis points across all years

while fees for the comparable mutual fund-based series run 38-59 basis points

depending on the target date years. See id. Thus, a prudent fiduciary managing a



12
   Available at https://www.benefitnews.com/news/cits-gaining-ground-in-401-k-
plans (last visited Nov. 13, 2020).
                                          33
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large plan will give serious consideration to the use of separate accounts or collective

trusts, and in the majority of cases, will opt to move out of mutual funds.

      93.    Indeed, according to data compiled by Morningstar, both T. Rowe Price

and Fidelity saw mutual target date fund assets decline between 2017 and 2018,

while their collective investment trust target date business grew. See CIT Target

Date Assets Surging As Mutual Funds Hit Outflows, Pension & Investments (June

24, 2019). T. Rowe Price specifically had net outflows of $23 billion in 2017 and

2018, from its target date mutual funds and $21.4 billion of net outflows into its

collective investment target date investments. See id. However, Defendants missed

out on this trend.

      94.    The investment options offered within the Plan throughout the Class

Period were overwhelmingly pooled investment products known as mutual funds.

      95.    As demonstrated on the charts below, Defendants failed to prudently

monitor the Plan to determine whether the Plan offered the available collective trust

version of their investment options, the lowest-cost collective trust option, or the

lowest-cost share class investments for the Plan’s assets.

      96.    In simple terms, for almost every T. Rowe Price investment option in

the Plan, Defendants failed to consider switching to an identical investment option

that was packaged in a “different wrapper” at a lower price, which would have

allowed a higher investment return for the participants.

                                          34
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             97.       As illustrated on the chart below, which uses recent publicly available

   data, each of the T. Rowe Price funds selected by Defendants was more expensive

   by a significant margin than the available lower-cost institutional share class and the

   less expensive collective trust fund options.

             98.       With respect to the Plan’s T. Rowe Price funds, Defendants included

   the investor share class funds as investment options in the Plan even though the Plan

   was eligible for both: (a) the lower-cost institutional share class (which was available

   as an option starting in 2015); and (b) a lower cost collective trust option. In every

   instance, the 3-year return of both lower cost options meets or exceeds the return of

   the more expensive investment option chosen by Defendants.

    Table VIII.A.3.1

                                    In Plan                                 Expense
        Fund in Plan      Expense   3-Year         Identical Lower-Cost      Ratio    3-Year Return   % Fee Excess
                          Ratio13   Return             Share Class
TRRFX $337,343                                TRPFX
T. Rowe Price              0.53%    5.12%     T. Rowe Price Retirement I    0.37%         5.24%           41%
Retirement 2005                               2005 I
                                              TRP Retirement Trust B         40%          5.28%           35%
                                              2005
TRRAX $3,000,017                              TRPAX                         0.37%         5.47%           48%
T. Rowe Price              0.55     5.24%     T. Rowe Price Retirement I
Retirement 2010                               2010 I
                                              TRP Retirement Trust B         40%          5.52%           38%
                                              2010
TRRGX $3,751,851                              TRFGX                         0.40%         5.72%           38%
T. Rowe Price              0.55%    5.57%     T. Rowe Price Retirement I
Retirement 2015                               2015 I
                                              TRP Retirement Trust B 2015    40%          5.80%           38%

TRRBX $25,594,560          0.58%    5.93%     TRBRX                         0.43%         6.03%           35%
T. Rowe Price                                 T. Rowe Price Retirement I
Retirement 2020                               2020 I

   13
     All 3-year return figures and expense ratios for the T. Rowe Price Retirement
   Trust-B funds are from Morningstar Investment Profiles as of June 30, 2020.
                                                         35
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                                    TRP Retirement Trust B       40%     6.16%   45%
                                    2020
TRRHX $30,288,422   0.62%   6.21%   TRPHX                        0.47%   6.29%   32%
T. Rowe Price                       T. Rowe Price Retirement I
Retirement 2025                     2025 I
                                    TRP Retirement Trust B       40%     6.45%   55
                                    2025                                         %




                                               36
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TRRCX $50,474,113        0.65%   6.30%    TRPCX                         0.49%   6.48%     32%
T. Rowe Price                             T. Rowe Price Retirement I
Retirement 2030                           2030 I
                                          TRP Retirement Trust B        40%     6.66%     63%
                                          2030
TRRJX $24,245,364        0.68%   6.51%    TRPJX                         0.50%   6.60%     33%
T. Rowe Price                             T. Rowe Price Retirement I
Retirement 2035                           2035 I
                                          TRP Retirement Trust B        40%     6.83%     70%
                                          2035
TRRDX $33,471,787        0.70%   6.63%    TRPDX                         0.51%   6.72%     36%
T. Rowe Price                             T. Rowe Price Retirement I
Retirement 2040                           2040 I
                                          TRP Retirement Trust B        40%     6.95%     75%
                                          2040
TRRKX $17,122,066        0.71%   6.61%    TRPKX                         0.52%   6.66%     37%
T. Rowe Price                             T. Rowe Price Retirement I
Retirement 2045                           2045 I
                                          TRP Retirement Trust B 2045   40%     6.95%     78%

TRRMX $12,468,243        0.71%   6.62%    TRPMX                         0.59%   6.67%     37%
T. Rowe Price                             T. Rowe Price Retirement I
Retirement 2050                           2050 I
                                          TRP Retirement Trust B        40%     6.90%     78%
                                          2050
TRRNX $11,215,738        0.71%   6.54%    TRPMX                         0.59%   6.68%     20%
T. Rowe Price                             T. Rowe Price Retirement I
Retirement 2055                           2055 I
                                          TRP Retirement Trust B        40%     6.91%     78%
                                          2055
TRRLX $3,522,462         0.72%   6.56%    TRPLX                         52%     6.71%     20%
T. Rowe Price                             T. Rowe Price Retirement I
Retirement 2060                           2060 I
TRRIX $1,121,629         0.51%   5.08%    TRPTX                         0.35%   5.21%14   46%
T. Rowe Price                             T. Rowe Price Retirement
Retirement income                         Balanced I
Fund
PRGIX $50,995,688        0.65%   8.87%    TGTIX                         0.56%   8.97%     20%
T. Rowe Price Growth &                    T. Rowe Price Growth &
Income                                    Income I
RPMGX $66,110,710        0.75%   11.27%   RPTIX                         0.61%   11.42%    23%
T. Rowe Price Mid-Cap                     T. Rowe Price Mid-Cap
Growth                                    Growth I
PRGFX $33,945,944        0.66%   16.43%   PRUFX                         0.52%   17.42%    30%
T. Rowe Price Growth                      T. Rowe Price Growth Stock
Stock                                     I
RXPF02312 $77,460,519    0.20%   2.19%    T. Rowe Price Stable Value    0.15%   2.25%15   25%
T. Rowe Price Stable                      Common Tr -F
Value Common Tr -N


   14
      Performance and expense ratios from T. Rowe Price Fact Sheet dated June 30,
   2020.
   15
      Morningstar Profile, 6/30/2020 located at http://www3.troweprice.com/.
                                                     37
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MADVX $14,011,347         0.71%   3.37 %16 MKDVX                           0.59 %   3.49 %   83%
BlackRock Equity                           BlackRock Equity Dividend
Dividend Instl.                            K
Benchmark: Russell 1000                    Benchmark: Russell 1000 Value
Value TR USD                               TR USD


             109. The chart above also demonstrates that other T. Rowe Price investment

   options in the Plan – the Retirement Balanced Fund, Growth & Income Fund, Mid-

   Cap Growth Fund, Growth Stock Fund– were all available in a lower-cost share

   classes, the performance of which also met or exceeded the performance of the more

   expensive share class offered to Plan participants.

             110. As of December 31, 2018, approximately 14% of the Plan’s assets were

   invested in the T. Rowe Price Stable Value Common Trust - N, a collective trust.

   However, as shown above, this CIT was available in a lower cost collective trust that

   performed better than the collective trust selected by Defendants.

             111. Given the low rate of return of the T. Rowe Price Stable Value Common

   Trust - N, a 25% reduction in the expense ratio that would have been achieved with

   the lower cost CIT-F class would have been meaningful to the participants. There is

   no good-faith explanation for utilizing high-cost share classes when lower-cost share

   classes are available for the exact same investment.




   16
        Return data BlackRock Equity Dividend I and K shares as of September 30, 2020.
                                                       38
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      112. The Plan did not receive any additional services or benefits based on its

use of more expensive share classes. The only consequence was higher costs for Plan

participants.

      113. The $600 million Plan, with tens of millions of dollars invested in many

of its individual investment options, easily qualified for these lower cost investment

options. Purchase and sale of the I-share class typically requires a $1 million

minimum initial investment and there is no minimum for additional purchases.

However, the minimum initial investment generally is waived for retirement plans.

See, e.g., Prospectus dated 10/01/2019 for T. Rowe Price I 2005 Fund I Class, at 26.

      114. At the beginning of the Class Period, T. Rowe Price required a $50

million minimum amount for investing in target date collective trust series. T. Rowe

Price lowered the minimum amount for investing in target date collective trust series

to $20 million in target date assets in 2017.

      109. At all times during the Class Period, the Plan had sufficient assets

invested in T. Rowe Price target date funds to meet the minimum investment

thresholds to qualify to invest in the collective trust target date funds.

      110. A prudent fiduciary conducting an impartial review of the Plan’s

investments would have identified the cheaper share classes available and

transferred the Plan’s investments in the above-referenced retail investor class shares

and N-class collective trust into institutional class I shares and the cheaper F class

                                           39
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collective trust at the earliest opportunity. The fact that the Plan has invested in at

least one collective trust during the Class Period indicates that the Plan Document

does not prohibit investing in these types of funds.

      111. Thus, Defendants could have used the Plan’s bargaining power to

obtain significantly lower-cost alternatives to mutual funds, in order to obtain the best

possible prices for the Plan. By failing to investigate the use of lower cost share

classes and CITs, Defendants caused the Plan and its participants to pay millions of

dollars per year in unnecessary fees.

      112. Separate accounts are another type of investment vehicle similar to

collective trusts, which retain their ability to assemble a mix of stocks, bonds, real

property and cash, and their lower administrative costs.

      113. Separate accounts are widely available to large plans such as the Plan,

and offer a number of advantages over mutual funds, including the ability to

negotiate fees. Industry data shows that actual fee schedules on separate accounts are

typically lower than advertised fee schedules, particularly when the plan or investor

has a large amount of assets to invest, as did the Plan here. By using separate

accounts, “[t]otal investment management expenses can commonly be reduced to

one-fourth of the expenses incurred through retail mutual funds.” U.S. Dep’t of

Labor, Study of 401(k) Plan Fees and Expenses, at 17 (April 13, 1998) (reporting

that by using separate accounts and similar instruments, “[t]otal investment

                                           40
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management expenses can commonly be reduced to one-fourth of the expenses

incurred through retail mutual funds”).17

         114. Defendants did not utilize separate accounts during the Class Period.

         B.    Defendants Breached Their Fiduciary Duties in Failing to
               Investigate and Select Alternative Lower Cost Funds
          115. The Supreme Court has reaffirmed the ongoing fiduciary duty to

 monitor a plan’s investment options in Tibble, 575 U.S. 523. In Tibble, the Court

 held that “an ERISA fiduciary’s duty is derived from the common law of trusts,” and

 that “[u]nder trust law, a trustee has a continuing duty to monitor trust investments

 and remove imprudent ones.” Id. at 1828. In so holding, the Supreme Court

 referenced with approval the Uniform Prudent Investor Act, treatises, and seminal

 decisions confirming the duty.

         116. The UPIA, which enshrines trust law, recognizes that “the duty of

prudent investing applies both to investing and managing trust assets....” Tibble, 575

U.S. 523 (quoting Nat’l Conference of Comm’rs on Uniform State Laws, Uniform

Prudent Investor Act § 2(c) (1994)). The official comment explains that

“‘[m]anaging embraces monitoring, that is, the trustee’s continuing responsibility




17
     Available at:

https://www.dol.gov/sites/dolgov/files/EBSA/researchers/analysis/retirement/study
-of-401k-plan-fees-and-expenses.pdf (last visited Nov. 13, 2020).
                                            41
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for oversight of the suitability of investments already made as well as the trustee’s

decisions respecting new investments.” Id. § 2 comment.

      117. Under trust law, one of the responsibilities of the Plan’s fiduciaries is

to “avoid unwarranted costs” by being aware of the “availability and continuing

emergence” of alternative investments that may have “significantly different costs.”

Restatement (Third) of Trusts ch. 17, intro. note (2007); see also Restatement

(Third) of Trusts § 90 cmt. B (2007) (“Cost-conscious management is fundamental

to prudence in the investment function.”). Adherence to these duties requires regular

performance of an “adequate investigation” of existing investments in a plan to

determine whether any of the plan’s investments are “improvident,” or if there is a

“superior alternative investment” to any of the plan’s holdings. Pension Ben. Guar.

Corp. ex rel. St. Vincent Catholic Med. Centers Ret. Plan v. Morgan Stanley Inv.

Mgmt. Inc., 712 F.3d 705, 718–19 (2d Cir. 2013).

      118. When large plans, like the Plan here, have options which approach the

retail cost of shares for individual investors or are simply more expensive than the

average institutional shares for that type of investment, a careful review of the plan

and each option is needed for the fiduciaries to fulfill their obligations to the plan

participants.

      119. The Plan has retained numerous actively-managed funds as Plan

investment options despite the fact that these funds charged grossly excessive fees

                                         42
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compared with comparable or superior alternatives, shown in the tables below, and

despite ample evidence available to a reasonable fiduciary that these funds had

become imprudent due to their high costs. For example, during the Class Period the

Plan included only two index funds, which attracted less than 8% of the Plan’s assets

for the year ending December 31, 2018. Form 5500 for 2018.

      120. During the Class Period, the Plan lost millions of dollars by offering

investment options that had similar, if not identical, characteristics to lower-priced

investment options.

      121. Upon information and belief, virtually all investment options in the

Plan remained the same until December 2019.18

      122. Using services that are readily available to ERISA fiduciaries to

analyze the current Plan offerings, including Morningstar, as reported in the Form

5500 for the year ended December 31, 2019, Plaintiffs’ analysis shows each T. Rowe

Price fund was significantly more expensive than comparable funds found in

similarly-sized plans (i.e., plans having $500 million to $1 billion in assets).

      123. The expense ratios for the T. Rowe Price funds offered in the Plan are

as much as 700% greater than the expense ratio for comparable funds that employ


18
  After a long period during which very little change was made to the Plan, effective
December 12, 2019, Defendants removed two investment options (PNC Small Cap
Institutional and Vanguard Total Int. Stock Ind. Adm.) and added seven new
investment options.

                                          43
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the same investment strategies and have at least 90 percent similar holdings and are

available to the Plan. See Chart below. See, e.g., BrightScope/ICI Defined

Contribution Plan Profile: A Close Look at 401(k) Plans, 2015 at 69 (March 2018)

(hereafter, “ICI Study”).19

        124. The tables below show that for each of the T. Rowe Price Retirement

funds offered in the Plan, there were substantially cheaper alternatives that offered

the same or better performance. Had Defendants undertaken regular reviews of the

Plan’s investment offerings and alternative investments that are readily available to

large defined benefits plans like the Plan, they would have (a) realized that the

investments offered by the Plan were too expensive; (b) determined that they could

obtain better returns for Plan participants at a lower cost; and (c) removed these

expensive investment offerings in favor of lower-cost, better performing options like

those shown in the tables below:




19
     See https://www.ici.org/pdf/ppr_18_dcplan_profile_401k.pdf.
                                         44
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 Table VIII.B.1
In Plan/                                 Net            Trailing Annual Return     Performance Relative to Benchmark
Low Fee                Fund              Expense       as of September 30, 2020          as of September 30, 2020
Alternative                              Ratio        1Y          3Y         5Y        1Y           3Y          5Y
              TRRIX $1,452,708           0.50 %20   7.91 %     5.67 %     6.65 %    -0.32 %    -0.57 %     -0.33 %
              T. Rowe Price
IN PLAN       Retirement Balanced
              Benchmark: Morningstar
              Mod Con Tgt Risk TR USD
Low Fee       TRPTX                       0.35 %    8.09 %     5.83 %     6.76 %    -0.14 %    -0.42 %     -0.23 %
Alternative   T. Rowe Price
              Retirement Balanced I
              Benchmark: Morningstar
              Mod Con Tgt Risk TR USD
Low Fee       VSCGX                       0.12 %    8.11 %     6.43%      7.02%     -0.11 %    0.19 %       0.04 %
Alternative   Vanguard LifeStrategy
              Cnsrv. Gr. Inv.
              Benchmark: Morningstar
              Mod Con Tgt Risk TR USD
Low Fee       VTMFX                       0.09 %    10.39 %    8.24 %     8.74 %    2.17 %     1.99 %       1.75 %
Alternative   Vanguard Tax-Managed
              Balanced Adm
              Benchmark: Morningstar
              Mod Con Tgt Risk TR USD
Low Fee       TRILX                       0.10 %    9.09 %     6.59 %     6.98 %    0.86 %     0.34 %        0.00
Alternative   TIAA-CREF Lifecycle
              Index Ret Inc Instl
              Benchmark: Morningstar
              Mod Con Tgt Risk TR USD


 Table VIII.B.2
In Plan/                                 Net            Trailing Annual Return     Performance Relative to Benchmark
Low Fee                Fund              Expense       as of September 30, 2020          as of September 30, 2020
Alternativ                               Ratio        1Y          3Y         5Y        1Y           3Y          5Y
e
              TRRFX $337,343              0.52%     7.45%      5.62%      6.74%     -0.55%      -0.60%      0.01%
              T. Rowe Price
IN PLAN       Retirement 2005
              Benchmark: Morningstar
              Lifetime Mod 2010 TR USD
Low Fee     TRPFX                         0.37%     7.62%      5.74%      6.82%     -0.38%      -0.47%      0.09%
Alternative T. Rowe Price
            Retirement I 2005 I
              Benchmark: Morningstar
              Lifetime Mod 2010 TR USD
Low Fee     FKIFX                         0.12%     7.41%      5.85%      6.10%     -0.59%      -0.36%      -0.63%
Alternative


20
  Expense ratios for “In Plan” investment options are per Meritor Inc Savings Plan
Plan and Investment Disclosure, November 2019 (as updated on Morningstar as of
October 2020).
                                                              45
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              Fidelity Freedom®
              Index 2005 Investor
              Benchmark: Morningstar
              Lifetime Mod 2010 TR USD


Table VIII.B.3
In Plan/                                 Net          Trailing Annual Return     Performance Relative to Benchmark
Low Fee                 Fund             Expense     as of September 30, 2020          as of September 30, 2020
Alternative                              Ratio      1Y          3Y         5Y        1Y           3Y          5Y
              TRRAX $3,000,017            0.52%    7.85 %    5.86 %     7.18 %    -0.15 %    -0.35%       0.45%
              T. Rowe Price
IN PLAN       Retirement 2010
              Benchmark: Morningstar
              Lifetime Mod 2010 TR USD
Low Fee       TRPAX                       0.37%    7.96%     6.00%      7.31%     -0.04%     -0.21%       0.57%
Alternative   T. Rowe Price
              Retirement I 2010 I
              Benchmark: Morningstar
              Lifetime Mod 2010 TR USD
Low Fee       FKIFX                       0.12%    7.95%     6.29%      6.89%     -0.05%      0.07%       0.15%
Alternative   Fidelity Freedom®
              Index 2010 Investor
              Benchmark: Morningstar
              Lifetime Mod 2010 TR USD


Table VIII.B.4
In Plan/                                 Net          Trailing Annual Return     Performance Relative to Benchmark
Low Fee                 Fund             Expense     as of September 30, 2020          as of September 30, 2020
Alternative                              Ratio      1Y          3Y         5Y        1Y           3Y          5Y
              TRRGX $3,751,851            0.55%    8.14 %    6.13%%     7.75%     -0.30%     -0.48%       0.48%
              T. Rowe Price
IN PLAN       Retirement 2015
              Benchmark: Morningstar
              Lifetime Mod 2015 TR USD
Low Fee       TRFGX                       0.40%    8.34%     6.25%      7.87%     -0.10%     -0.36%       0.60%
Alternative   T. Rowe Price
              Retirement I 2015 I
              Benchmark: Morningstar
              Lifetime Mod 2015 TR USD
Low Fee       TLFIX                       0.10%    9.34%     6.81%      7.62%     0.90%       0.20%       0.35%
Alternative   TIAA-CREF Lifecycle
              Index 2015 Instl
              Benchmark: Morningstar
              Lifetime Mod 2015 TR USD
Low Fee       FLIFX                       0.12%    8.59%     6.74%      7.66%     0.15%       0.13%       0.39%
Alternative   Fidelity Freedom®
              Index 2015 Investor
              Benchmark: Morningstar
              Lifetime Mod 2015 TR USD




                                                            46
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Table VIII.B.5
In Plan/                                 Net          Trailing Annual Return    Performance Relative to Benchmark
Low Fee                Fund              Expense     as of September 30, 2020         as of September 30, 2020
Alternative                              Ratio      1Y          3Y         5Y       1Y           3Y          5Y
IN PLAN       TRRBX $25,594,560          0.57%     8.64%     6.49%      8.49%    0.05%      -0.37%       0.68%
              T. Rowe Price
              Retirement 2020
              Benchmark: Morningstar
              Lifetime Mod 2020 TR USD
Low Fee       TRBRX                      0.42%     8.66 %    6.60%      8.61%    0.07%      -0.27%       0.80%
Alternative   T. Rowe Price
              Retirement I 2020 I
              Benchmark: Morningstar
              Lifetime Mod 2020 TR USD
Low Fee       TLWIX                      0.10%     9.58%     7.07%      8.17%    0.99%       0.20%       0.36%
Alternative   TIAA-CREF Lifecycle
              Index 2020 Instl
              Benchmark: Morningstar
              Lifetime Mod 2020 TR USD
Low Fee       FPIFX                  0.12 %        9.04%     7.04%      8.21%    0.45%       0.17%       0.40%
Alternative   Fidelity Freedom Index
              2020 Investor
              Benchmark: Morningstar
              Lifetime Mod 2020 TR USD




                                                            47
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Low Fee       SSBOX                      0.09%     7.93%         6.38    7.78%     -0.66%     -0.49%       -0.03%
Alternative   State Street Target
              Retirement 2020 K
              Benchmark: Morningstar
              Lifetime Mod 2020 TR USD


Table VIII.B.6
In Plan/                                 Net           Trailing Annual Return     Performance Relative to Benchmark
Low Fee                 Fund             Expense      as of September 30, 2020          as of September 30, 2020
Alternative                              Ratio       1Y          3Y         5Y        1Y           3Y           5Y
              TRRHX $30,288,422           0.61%    9.31%       6.86%      9.14%    0.91%        -0.12%        0.77%
              T. Rowe Price
IN PLAN       Retirement 2025
              Benchmark: Morningstar
              Lifetime Mod 2025 TR USD
Low Fee       TRPHX                       0.46%    9.29%     6.93%       9.23%     0.89%      -0.05%       0.86%
Alternative   T. Rowe Price
              Retirement I 2025 I
              Benchmark: Morningstar
              Lifetime Mod 2025 TR USD
Low Fee       TLQIX                       0.10%    10.03%    7.39%       8.82%     1.63%       0.41%       0.45%
Alternative   TIAA-CREF Lifecycle
              Index 2025 Instl
              Benchmark: Morningstar
              Lifetime Mod 2025 TR USD
Low Fee       FQIFX                       0.12%    9.43%     7.30%       8.71%     1.03%       0.32%       0.35%
Alternative   Fidelity Freedom Index
              2025 Investor
              Benchmark: Morningstar
              Lifetime Mod 2025 TR USD
Low Fee       SSBSX                       0.09%    10.11%    7.53%       9.12%     1.71%       0.54%       0.75%
Alternative   State Street Target
              Retirement 2025 K
              Benchmark: Morningstar
              Lifetime Mod 2025 TR
              USD


Table VIII.B.7
In Plan/                                 Net          Trailing Annual Return      Performance Relative to Benchmark
Low Fee                 Fund             Expens      as of September 30, 2020           as of September 30, 2020
Alternative                              e Ratio    1Y          3Y         5Y         1Y           3Y          5Y
              TRRCX $50,474,113           0.64%    9.69%     7.13%       9.68%     1.89%       0.24%       0.79%
              T. Rowe Price
IN PLAN       Retirement 2030
              Benchmark: Morningstar
              Lifetime Mod 2030TR USD
Low Fee       TRPCX                       0.49%    9.75%     7.24%      9.78 %     1.96%       0.35%       0.90%
Alternative   T. Rowe Price
              Retirement I 2030 I
              Benchmark: Morningstar
              Lifetime Mod 2030TR USD




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Low Fee       TLHIX                       0.10%    10.40%     7.69%      9.44%     2.60%       0.80%       0.55%
Alternative   TIAA-CREF Lifecycle
              Index 2030 Instl
              Benchmark: Morningstar
              Lifetime Mod 2030TR USD
Low Fee       FXIFX                       0.12%    9.88%      7.74%      9.76%     2.08%       0.88%       0.88%
Alternative   Fidelity Freedom Index
              2030 Investor
              Benchmark: Morningstar
              Lifetime Mod 2030TR USD
Low Fee       SSBYX                       0.09%    11.92%     8.23%      9.92%     4.12%       1.34%       1.04%
Alternative   State Street Target
              Retirement 2030 K
              Benchmark: Morningstar
              Lifetime Mod 2030TR USD


Table VIII.B.8
In Plan/                                 Net           Trailing Annual Return     Performance Relative to Benchmark
Low Fee                Fund              Expense      as of September 30, 2020          as of September 30, 2020
Alternative                              Ratio       1Y          3Y         5Y        1Y           3Y          5Y
IN PLAN       TRRJX $24,245,364           0.67%    10.13 %    7.32 %    10.08 %    3.34 %     0.77 %       0.88 %
              T. Rowe Price
              Retirement 2035
              Benchmark: Morningstar
              Lifetime Mod 2035 TR USD
Low Fee     TRPJX                         0.50%    10.11%     7.43%      10.17%    3.32%       0.89%       0.98%
Alternative T. Rowe Price
            Retirement I 2035 I
              Benchmark: Morningstar
              Lifetime Mod 2035 TR USD
Low Fee     SSCKX                         0.09%    12.17%     8.34%      10.32%    5.38%       1.80%       1.13%
Alternative State Street Target
            Retirement 2035 K
              Benchmark: Morningstar
              Lifetime Mod 2035 TR USD
Low Fee     TLYIX                         0.10%    10.75%     7.95%      10.03%    3.96%       1.41%       0.84%
Alternative TIAA-CREF Lifecycle
            Index 2035 Instl
              Benchmark: Morningstar
              Lifetime Mod 2035 TR USD
Low Fee     FIHFX                         0.12%    10.17%     7.98%      10.45%    3.38%       1.43%       1.25%
Alternative Fidelity Freedom Index
            2035 Investor
              Benchmark: Morningstar
              Lifetime Mod 2035 TR USD




                                                             49
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Table VIII.B.9
In Plan/                                 Net          Trailing Annual Return      Performance Relative to Benchmark
Low Fee                 Fund             Expense     as of September 30, 2020           as of September 30, 2020
Alternative                              Ratio       1Y         3Y         5Y         1Y          3Y           5Y
              TRRDX $33,471,787           0.69%    10.47%     7.52%     10.42%     4.60%       1.37%       1.13%
              T. Rowe Price Retirement
IN PLAN       2040
              Benchmark: Morningstar
              Lifetime Mod 2040 TR USD
Low Fee     TRPDX                         0.51%    10.55 %    7.62%     10.52%     4.67%       1.47%       1.23%
Alternative T. Rowe Price Retirement
            I 2040 I
              Benchmark: Morningstar
              Lifetime Mod 2040 TR USD
              Average Net Expense        0.465%
              Ratio for Morningstar
              Category
              Benchmark: Morningstar
              Lifetime Mod 2040 TR USD
Low Fee     FBIFX                         0.12%    10.38%     8.00%     10.48%     4.50%       1.85%       1.19%
Alternative Fidelity Freedom® Index
            2040 Investor
              Benchmark: Morningstar
              Lifetime Mod 2040 TR USD
Low Fee     TLZIX                         0.10%    11.00%     8.14%     10.58%     5.13%       2.00%       1.29%
Alternative TIAA-CREF Lifecycle
            Index 2040 Instl
              Benchmark: Morningstar
              Lifetime Mod 2040 TR USD
Low Fee     SSCQX                         0.09%    12.34%     8.36%     10.55%     6.46%       2.21%       1.26%
Alternative State Street Target
            Retirement 2040 K
              Benchmark: Morningstar
              Lifetime Mod 2040 TR USD


Table VIII.B.10
In Plan/                                 Net           Trailing Annual Return     Performance Relative to Benchmark
Low Fee                 Fund             Expense      as of September 30, 2020          as of September 30, 2020
Alternative                              Ratio        1Y         3Y        5Y         1Y          3Y           5Y
              TRRKX $17,122,066           0.71%    10.72 %    7.59 %    10.54 %    5.44 %     1.77 %      1.30 %
              T. Rowe Price Retirement
IN PLAN       2045
              Benchmark: Morningstar
              Lifetime Mod 2045 TR USD
Low Fee     TRPKX                         0.51%    10.59%     7.64%     10.60 %    5.31%      1.81%       1.36%
Alternative T. Rowe Price Retirement
            I 2045 I
              Benchmark: Morningstar
              Lifetime Mod 2045 TR USD




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Low Fee     FIOFX                         0.12%    10.37%   8.00%      10.48%     5.09%      2.18%        1.24%
Alternative Fidelity Freedom® Index
            2045 Investor
              Benchmark: Morningstar
              Lifetime Mod 2045 TR USD
Low Fee     TLXIX                         0.10%    11.26%   8.25%      10.80%     5.97%      2.43%        1.56%
Alternative TIAA-CREF Lifecycle
            Index 2045 Instl
              Benchmark: Morningstar
              Lifetime Mod 2045 TR USD
Low Fee     SSDEX                         0.09%    12.16%   8.29%      10.74%     6.88%      2.46%        1.50%
Alternative State Street Target
            Retirement 2045 K
              Benchmark: Morningstar
              Lifetime Mod 2045 TR USD


Table VIII.B.11
In Plan/                                 Net         Trailing Annual Return      Performance Relative to Benchmark
Low Fee                 Fund             Expense    as of September 30, 2020           as of September 30, 2020
Alternative                              Ratio      1Y          3Y         5Y        1Y          3Y           5Y
              TRRMX $12,468,243           0.71%    10.65%     7.58%     10.53%    5.64%      1.95%       1.37%
              T. Rowe Price
IN PLAN       Retirement 2050
              Benchmark: Morningstar
              Lifetime Mod 2050 TR USD
Low Fee       TRPMX                       0.52%    10.70%     7.66%     10.61%    5.69%      2.02%       1.45%
Alternative   T. Rowe Price
              Retirement I 2050 I
              Benchmark: Morningstar
              Lifetime Mod 2050 TR USD
Low Fee       FIPFX                       0.12%    10.38%     8.00%     10.49%    5.37%      2.36%       1.33%
Alternative   Fidelity Freedom® Index
              2050 Investor
              Benchmark: Morningstar
              Lifetime Mod 2050 TR USD
Low Fee       SSDLX                       0.09%    12.31%     8.30%     10.72%    7.29%      2.67%       1.56%
Alternative   State Street Target
              Retirement 2050 K
              Benchmark: Morningstar
              Lifetime Mod 2050 TR USD
Low Fee       TLLIX                       0.10%    11.26%     8.27%     10.89%    6.25%      2.64%       1.72%
Alternative   TIAA-CREF Lifecycle
              Index 2050 Instl
              Benchmark: Morningstar
              Lifetime Mod 2050 TR USD




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Table VIII.B.12
In Plan/                                 Net         Trailing Annual Return      Performance Relative to Benchmark
Low Fee                Fund              Expense    as of September 30, 2020           as of September 30, 2020
Alternative                              Ratio      1Y          3Y        5Y         1Y          3Y           5Y
IN PLAN       TRRNX $11,215,738            0.71%   10.50 %   7.51%     10.48 %    5.61 %     2.00%        1.60%
              T. Rowe Price
              Retirement 2055
              Benchmark: Morningstar
              Lifetime Mod 2055 TR USD
Low Fee     TRPMX                          0.52%   10.70%    7.66%     10.61%     5.69%      2.02%        1.45%
Alternative T. Rowe Price
            Retirement I 2055 I
              Benchmark: Morningstar
              Lifetime Mod 2055 TR USD
Low Fee     FDEWX                          0.12%   10.38%    8.00%     10.49%     5.37%      2.36%        1.33%
Alternative Fidelity Freedom®
            Index 2055 Investor
              Benchmark: Morningstar
              Lifetime Mod 2055 TR USD
Low Fee     SSDQX                          0.09%   12.16 %   8.30%     10.74%     7.27%      2.79%        1.64%
Alternative State Street Target
            Retirement 2055 K
              Benchmark: Morningstar
              Lifetime Mod 2055 TR USD
Low Fee     TTIIX                          0.10%   11.23%    8.28%     10.97%     6.34%      2.77%        1.86%
Alternative TIAA-CREF Lifecycle
            Index 2055 Instl
              Benchmark: Morningstar
              Lifetime Mod 2055 TR USD


Table VIII.B.13
In Plan/                                 Net         Trailing Annual Return      Performance Relative to Benchmark
Low Fee                Fund              Expense    as of September 30, 2020           as of September 30, 2020
Alternative                              Ratio      1Y          3Y        5Y         1Y          3Y           5Y
              TRRLX $3,522,462            0.71%    10.53 %   7.52 %    10.48 %    5.75 %     2.12 %      1.45%
              T. Rowe Price
IN PLAN       Retirement 2060
              Benchmark: Morningstar
              Lifetime Mod 2060 TR USD
Low Fee     TRPLX                         0.52%    10.66%    7.66%     10.54%     5.88%      2.26%       1.51%
Alternative T. Rowe Price
            Retirement I 2060 I
              Benchmark: Morningstar
              Lifetime Mod 2060 TR USD
Low Fee     FDKLX                         0.12%    10.35%    7.98%     10.48%     5.57%      2.58%       1.44%
Alternative Fidelity Freedom®
            Index 2060 Investor
              Benchmark: Morningstar
              Lifetime Mod 2060 TR USD




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Low Fee     SSDYX                      0.09%   12.20%   8.26%   10.68%   7.42%   2.87%   1.65%
Alternative State Street Target
            Retirement 2060 K
            Benchmark: Morningstar
            Lifetime Mod 2060 TR USD
Low Fee     TVIIX                      0.10%   11.37%   8.34%   11.06%   6.59%   2.95%   2.03%
Alternative TIAA-CREF Lifecycle
            Index 2060 Instl
            Benchmark: Morningstar
            Lifetime Mod 2060 TR USD


        125. The comparisons in the tables above demonstrate that for every T. Rowe

Price Retirement fund selected by Defendants for the Plan, there are many equivalent

investments that use the same benchmark index and have substantially similar holdings,

but would cost participants far less – and enable participants to save more money for

retirement – than the funds imprudently selected for and retained in the Plan by Defendants.

        126. The tables above are not intended to serve as an exhaustive listing of

lower-cost, better performing alternative investments, but rather to illustrate that

throughout the Class Period there were numerous superior alternatives, including

lower cost versions of the exact same T. Rowe Price Retirement funds offered in the

Plan. Defendants’ failure to ascertain these facts and replace the Plan’s investment

lineup with readily available, lower-cost, better performing funds is strong evidence

of a flawed fiduciary process.

        127. As shown above, the T. Rowe Price Retirement funds selected by

Defendants have expense ratios that range from 0.50% to 0.71%. Tables VIII.B.1-

13, above, demonstrate that comparable retirement funds from fund families

including Fidelity, State Street, and TIAA-CREF offer expense ratios that range


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from 0.09% to 0.12%, and provide superior performance over 1-, 3-, and 5-year

periods, i.e., the majority of the Class Period. Despite the availability of these lower-

cost, better performing alternatives, Defendants chose target date funds with expense

ratios that are 4.16 times to 7.88 times greater than alternative funds that would have

provided superior returns.

          128. The tables below show that for the T. Rowe Price, BlackRock, and

Dodge & Cox stock funds offered in the Plan, there were substantially cheaper

alternatives that offered the same or better performance. Had Defendants done

regular reviews of the Plan’s investment offerings and alternative investments that

are readily available to large defined benefits plans like the Plan, they would have

(a) realized that the investments offered by the Plan were too expensive; (b)

determined that they could obtain better returns for Plan participants at a lower cost;

and (c) removed these expensive investment offerings in favor of lower-cost, better

performing options like those shown in the tables below:

 Table VIII.B.14
In Plan/                               Net         Trailing Annual Return      Performance Relative to Benchmark
Low Fee                 Fund           Expense    as of September 30, 2020           as of September 30, 2020
Alternative                            Ratio      1Y          3Y        5Y         1Y          3Y           5Y
              RPMGX $66,110,710         0.74%    13.28 %   12.65 %   13.82 %    -9.95 %    -3.57 %     -1.70 %
              T. Rowe Price Mid-Cap
IN PLAN       Growth
              Benchmark: Russell Mid
              Cap Growth TR USD
Low Fee     PMEGX                       0.61%    13.43 %   12.79 %   13.97 %    -9.80%     -3.43 %     -1.56 %
Alternative T. Rowe Price Instl Mid-
            Cap Equity Gr
              Benchmark: Russell Mid
              Cap Growth TR USD


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Low Fee     VMGMX                         0.070%   22.58 %   14.83 %    14.03%    -0.65 %    -1.40 %      -1.49 %
Alternative Vanguard Mid-Cap
            Growth Index Admiral
              Benchmark: Russell Mid
              Cap Growth TR USD
Low Fee     VMGRX                         0.36%    20.62 %   15.26 %    12.66 %   -2.61 %    -0.96 %      -2.87 %
Alternative Vanguard Mid Cap
            Growth Inv
              Benchmark: Russell Mid
              Cap Growth TR USD
Low Fee     POAGX                         0.64%    19.74 %   10.73 %    15.14 %   -3.49 %    -5.49 %      -0.39 %
Alternative PRIMECAP Odyssey
            Aggressive Growth
              Benchmark: Russell Mid
              Cap Growth TR USD


Table VIII.B.15
In Plan/                                Net           Trailing Annual Return      Performance Relative to Benchmark
Low Fee                Fund             Expense      as of September 30, 2020           as of September 30, 2020
Alternative                             Ratio        1Y          3Y        5Y         1Y          3Y           5Y
              PRGIX $50,995,688          0.64 %    11.47 %    11.17 %   12.69 %    -4.54%     -1.20%      -1.40%
              T. Rowe Price Growth
IN PLAN       & Income
              Benchmark: Russell 1000
              TR USD
Low Fee     TGTIX                        0.56 %    11.55 %    11.26 %   12.77 %   -4.46 %    -1.11 %      -1.33 %
Alternative T. Rowe Price Growth
            & Income I
              Benchmark: Russell 1000
              TR USD
Low Fee     FXAIX                        0.015%    15.14 %    12.27 %   14.14 %   -0.87 %    -0.11 %      0.04%
Alternative Fidelity® 500 Index
              Benchmark: Russell 1000
              TR USD
Low Fee     DFUSX                         0.08%    15.09 %    12.22 %   14.09 %    -0.92%     -0.16%      -0.01 %
Alternative DFA US Large
            Company I
              Benchmark: Russell 1000
              TR USD
Low Fee     VTCIX                        0.06 %    16.00 %    12.42 %   14.28 %    -0.02      0.04 %      0.18 %
Alternative Vanguard Tax-
            Managed Capital App I
            Benchmark: Russell
            1000 TR USD




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 Table VIII.B.16
In Plan/                                Net         Trailing Annual Return      Performance Relative to Benchmark
Low Fee                Fund             Expense    as of September 30, 2020           as of September 30, 2020
Alternative                             Ratio21    1Y          3Y        5Y         1Y          3Y           5Y
              PRGFX $33,945,944          0.65 %   34.55 %   18.85 %   18.43 %    -2.98 %    -2.82 %     -1.67%
              T. Rowe Price Growth
IN PLAN       Stock
              Benchmark: Russell
              Growth 1000 TR USD
Low Fee       PRUFX                      0.52 %   34.71 %   19.01 %   18.60 %    -2.82 %    -2.67 %     -1.50 %
Alternative   T. Rowe Price Growth
              Stock I
              Benchmark: Russell
              Growth 1000 TR USD
Low Fee       VIGIX                      0.04 %   38.25%    21.03 %   19.25 %    0.72 %     -0.64 %     -0.85 %
Alternative   Vanguard Growth
              Index Institutional
              Benchmark: Russell
              Growth 1000 TR USD
Low Fee       MSEQX                      0.59 %   99.39 %   38.12 %    30.51    61.85 %    16.45 %      10.41 %
Alternative   Morgan Stanley Inst
              Growth I
              Benchmark: Russell
              Growth 1000 TR USD
Low Fee       MKFOX                      0.62 %   42.08 %   23.23 %   20.28 %    4.55 %     1.56 %      0.17 %
Alternative   BlackRock Large Cap
              Focus Growth K
              Benchmark: Russell
              Growth 1000 TR USD


 Table VIII.B.17
In Plan/                                Net         Trailing Annual Return      Performance Relative to Benchmark
Low Fee                Fund             Expense    as of September 30, 2020           as of September 30, 2020
Alternative                             Ratio      1Y          3Y        5Y         1Y          3Y           5Y
              MADVX $14,011,347           0.71%   -4.10 %   3.37 %    8.82 %     0.92 %     0.74 %      1.17 %
              BlackRock Equity
IN PLAN       Dividend Ins
              Benchmark: Russell 1000
              Value TR USD
Low Fee       MKDVX                      0.59 %   -4.03 %   3.49 %    8.94 %     0.99 %     0.86 %      1.28 %
Alternative   BlackRock Equity
              Dividend K
              Benchmark: Russell 1000
              Value TR USD
Low Fee       VEIRX                      0.18 %   -2.77 %   4.66 %    9.45 %     2.25 %     2.03 %      1.79 %
Alternative   Vanguard Equity-
              Income Adm
              Benchmark: Russell
              1000 Value TR USD


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     Expense ratios as of October 2020.
                                                       56
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Low Fee       AFMFX                      0.29 %   2.61 %    6.94 %    10.56 %    7.64 %     4.31 %      2.90 %
Alternative   American Funds
              American Mutual F3
              Benchmark: Russell 1000
              Value TR USD
Low Fee       MEIKX                       0.47%   -1.05 %   4.45 %    9.07 %     3.98 %     1.82 %      1.41 %
Alternative   MFS Value R6
              Benchmark: Russell 1000
              Value TR USD
Low Fee       PEIIX                      0.52 %   -2.13 %   6.53 %    10.56 %    2.89 %     3.90 %      2.91 %
Alternative   Principal Equity
              Income Inst
              Benchmark: Russell
              1000 Value TR USD

 Table VIII.B.18
In Plan/                                Net         Trailing Annual Return      Performance Relative to Benchmark
Low Fee                Fund             Expense    as of September 30, 2020           as of September 30, 2020
Alternative                             Ratio      1Y          3Y        5Y         1Y          3Y           5Y
              DODFX $4,189,446            0.63%   -9.43 %   -5.85 %   2.21 %    -1.40 %    -0.77 %      0.07 %
              Dodge & Cox
IN PLAN       International Stock
              Benchmark: MSCI ACWI
              Ex USA Value NR USD
Low Fee       VTRIX                       0.37    -4.07 %   -1.62 %   4.45 %     6.77 %     3.46%       2.31 %
Alternative   Vanguard
              International Value
              Inv.
              Benchmark: MSCI ACWI
              Ex USA Value NR USD


          129. The comparisons in the tables above demonstrate that for each T. Rowe

Price stock fund and the BlackRock Equity Dividend Institutional and Dodge & Cox

International stock funds selected by Defendants in the Plan, there are many equivalent

investments that use the same benchmark index and have substantially similar holdings,

but would cost participants far less – and enable participants to save more money for

retirement – than the funds imprudently selected for and retained in the Plan by Defendants.

          130. The tables above are not intended to serve as an exhaustive listing of

lower-cost, better performing alternative stock funds, but rather to illustrate that


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throughout the Class Period there were numerous superior alternatives, including

lower cost versions of the exact same T. Rowe Price Retirement and BlackRock

funds offered in the Plan. Defendants’ failure to ascertain these facts and replace the

Plan’s investment lineup with readily available, lower-cost, better performing funds

is strong evidence of a flawed fiduciary process.

       131. The comparisons in the tables above demonstrate that for every T. Rowe

Price stock fund selected by Defendants for the Plan, there are many equivalent

investments that would cost participants far less – and enable them to make more money

for retirement – than the funds selected for the Plan by Defendants.

       132. The chart above demonstrates that the expense ratios of the Plan’s

investment options were more expensive by multiples of comparable alternative

funds in the same investment style. A reasonable investigation by the Plan’s

fiduciaries would have revealed the existence of these lower-cost alternatives.

       133. Defendants cannot justify their selection and retention of these over-

priced stock funds on the basis that their performance has been superior to the lower

cost investment options. On the contrary, during the Class Period the T. Rowe Price

stock funds offered by the Plan failed to perform any better than far less expensive

investment options offered by numerous fund families, including Vanguard,

Fidelity, Dimensional Fund Advisors (“DFA”), Morgan Stanley, MFS Investment

Management, and American Funds. See Tables VIII.B.14-18, above.

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      134. Likewise, the high expense ratios of the other T. Rowe Price mutual

funds offered by the Plan are not justified by their returns. For each of these funds -

- the T. Rowe Price Growth Stock, T. Rowe Price Mid Cap Growth, and the T. Rowe

Price Retirement Balanced Investor, all with expense ratios of 51-66%, there were

alternative funds available with expense ratios that were a fraction of the expense

ratios of the T. Rowe Price Funds. See Alternative Funds Chart.

      135. Defendants cannot justify their selection and retention of the T. Rowe

Price Growth Stock, T. Rowe Price Mid Cap Growth and the T. Rowe Price

Retirement Balanced Investor funds on the grounds that their performance has been

superior to the lower cost investment options like the Schwab Total Stock Market

Index (0.03%) and the Vanguard LifeStrategy Cnsrv. Growth Investor funds. On the

contrary, during the Class Period the T. Rowe Price funds failed to outperform these

far less expensive options.

      136. As shown in the table below, it was also imprudent for Defendants to

select and retain the T. Rowe Price Stable Value Common Tr.-N, which was the

single largest holding in the Plan with $77,460,519 as of December 31, 2019, when

there was a lower cost, higher return option available from T. Rowe Price.




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Table VIII.B.1

                                      Net
In Plan/ Low          Fund            Expense            Average Annual Return22
Fee                                   Ratio
Alternative                                      1Y       3Y             5Y         10Y

               RXPF02312               0.20%    2.25 %   2.19 %         2.09 %     2.37 %
               $77,460,519
IN PLAN        T. Rowe Price Stable
               Value Common Tr-N
Lower-Cost     T. Rowe Price Stable    0.15%    2.31 %   2.25 %         2.14 %     2.42 %
Alternative    Value Common Tr-F
               Benchmark: BBgBarc               8.74 %   5.32 %         4.30 %     3.82 %
               US Agg Bond TR USD23
               Category Average24               3.09 %   2.59 %         2.18 %     2.08 %



          137. There was no prudent or loyal reason for Defendants to select and retain

the T. Rowe Price Stable Value Common Tr.-N, rather than selecting the lower-cost

T. Rowe Price Stable Value Common Tr-F, which had higher rates of return

throughout the Class Period.

                             FIRST CLAIM FOR RELIEF
                 Breaches of Fiduciary Duties of Loyalty and Prudence
                 (Asserted against Meritor and Committee Defendants)

          138. Plaintiffs re-allege and incorporate herein by reference all prior

allegations in this Complaint as if fully set forth herein.

          139. At all relevant times, the Company and Committee Defendants

(“Prudence Defendants”) were fiduciaries of the Plan within the meaning of ERISA

22
   All performance results are reported by T. Rowe Price as of June 30, 2020.
23
   The T. Rowe Price Stable Value Common Tr-N and -F funds use as their
benchmark       the     BBgBarc      US      Agg    Bond       TR     USD.    See
https://www3.troweprice.com/rws/rps/public/assets/ffs/SV-PB.pdf
24
   As reported in the T. Rowe Price Stable Value Common Tr-F fact sheet. See id.
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§ 3(21)(A), 29 U.S.C. § 1002(21)(A), in that they exercised discretionary authority

or control over the administration and/or management of the Plan or disposition of

the Plan’s assets.

      140. As fiduciaries of the Plan, these Defendants were subject to the

fiduciary duties imposed by ERISA § 404(a), 29 U.S.C. § 1104(a). These fiduciary

duties included managing the assets of the Plan for the sole and exclusive benefit of

Plan participants and beneficiaries, and acting with the care, skill, diligence, and

prudence under the circumstances that a prudent person acting in a like capacity and

familiar with such matters would use in the conduct of an enterprise of like character

and with like aims.

      141. The Prudence Defendants breached these fiduciary duties in multiple

respects as discussed throughout this Complaint. They did not make decisions

regarding the Plan’s investment lineup based solely on the merits of each investment

and what was in the interest of Plan participants. Instead, the Prudence Defendants

selected and retained investment options in the Plan despite the high cost of the funds

in relation to other comparable investments. The Prudence Defendants also failed to

investigate the availability of lower-cost share classes of T. Rowe Price mutual funds

in the Plan. In addition, the Prudence Defendants failed to offer the lowest cost

collective trusts as alternatives to mutual funds, and instead chose a collective trust

stable value fund with a high expense ratio and returns that were the same as much

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less expensive stable value funds. The Prudence Defendants also failed to investigate

separate accounts even though they generally provide the same investment

management services at a lower cost.

      142. As a direct and proximate result of the breaches of fiduciary duties

alleged herein, the Plan suffered millions of dollars of losses due to excessive costs

and lower net investment returns. Had Defendants complied with their fiduciary

obligations, the Plan would not have suffered these losses, and Plan participants

would have had more money available to them for their retirement.

      143. Pursuant to 29 U.S.C. § 1109(a) and 1132(a)(2), the Prudence

Defendants are liable to restore to the Plan all losses caused by their breaches of

fiduciary duties, and also must restore any profits resulting from such breaches. In

addition, Plaintiffs are entitled to equitable relief and other appropriate relief for

Defendants’ breaches as set forth in their Prayer for Relief.

      144. The Prudence Defendants knowingly participated in each breach of the

other Defendants, knowing that such acts were a breach, enabled the other

Defendants to commit breaches by failing to lawfully discharge such Defendant’s

own duties, and knew of the breaches by the other Defendants and failed to make

any reasonable and timely effort under the circumstances to remedy the breaches.

Accordingly, each Defendant is also liable for the breaches of its co-fiduciaries under

29 U.S.C. § 1105(a).

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                        SECOND CLAIM FOR RELIEF
                Failure to Adequately Monitor Other Fiduciaries
              (Asserted against Meritor and the Board Defendants)

       145. Plaintiffs re-allege and incorporate herein by reference all prior

allegations in this Complaint as if fully set forth herein.

       146. Meritor and the Board Defendants (the “Monitoring Defendants”) had

the authority to appoint and remove members of the Committee, and were aware that

the Committee Defendants had critical responsibilities as fiduciaries of the Plan.

       147. In light of this authority, the Monitoring Defendants had a duty to

monitor the Committee Defendants to ensure that the Committee Defendants were

adequately performing their fiduciary obligations, and to take prompt and effective

action to protect the Plan in the event that the Committee Defendants were not

fulfilling those duties.

       148. The Monitoring Defendants also had a duty to ensure that the

Committee Defendants possessed the needed qualifications and experience to carry

out their duties (or used qualified advisors and service providers to fulfill their

duties); had adequate financial resources and information; maintained adequate

records of the information on which they based their decisions and analysis with

respect to the Plan’s investments; and reported regularly to Meritor and the Board

Defendants.




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      149. Meritor and the Board Defendants breached their fiduciary monitoring

duties by, among other things:

              (a)   Failing to monitor and evaluate the performance of the
                    Committee Defendants or have a system in place for doing so,
                    standing idly by as the Plan suffered significant losses as a result
                    of the Committee Defendants’ imprudent actions and
                    omissions;

              (b)   failing to monitor the processes by which Plan investments were
                    evaluated, their failure to investigate the availability of lower-
                    cost share classes, and their failure to investigate the availability
                    of lower-cost separate account and collective trust vehicles; and

              (c)   failing to remove Committee members whose performance was
                    inadequate in that they continued to maintain imprudent,
                    excessively costly, and poorly performing investments within
                    the Plan, all to the detriment of the Plan and Plan participants’
                    retirement savings.

      150. As a consequence of the foregoing breaches of the duty to monitor, the

Plan suffered millions of dollars of losses. Had Meritor and the Board Defendants

complied with their fiduciary obligations, the Plan would not have suffered these

losses, and Plan participants would have had more money available to them for their

retirement.

      151. Pursuant to 29 U.S.C. § 1109(a) and 1132(a)(2), Meritor and the Board

Defendants are liable to restore to the Plan all losses caused by their failure to

adequately monitor the Committee Defendants. In addition, Plaintiffs are entitled to

equitable relief and other appropriate relief as set forth in their Prayer for Relief.




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                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs pray that judgment be entered against Defendants

on all claims and requests that the Court awards the following relief:

      A.     A determination that this action may proceed as a class action under

Rule 23(b)(1), or in the alternative, Fed. R. Civ. P. 23(b)(2);

      B.     Designation of Plaintiffs as Class Representatives and designation of

Plaintiffs’ counsel as Class Counsel;

      C.     A Declaration that the Defendants, and each of them, have breached

their fiduciary duties under ERISA;

      D.     An Order compelling the Defendants to make good to the Plan all losses

to the Plan resulting from Defendants’ breaches of their fiduciary duties, including

losses to the Plan resulting from imprudent investment of the Plan’s assets, and to

restore to the Plan all profits the Defendants made through use of the Plan’s assets,

and to restore to the Plan all profits which the participants would have made if the

Defendants had fulfilled their fiduciary obligations;

      E.     An order requiring the Company Defendants to disgorge all profits

received from, or in respect of, the Plan, and/or equitable relief pursuant to 29 U.S.C.

§ 1132(a)(3) in the form of an accounting for profits, imposition of a constructive

trust, or a surcharge against the Employer Defendants as necessary to effectuate said

relief, and to prevent the Employer Defendants’ unjust enrichment;


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      F.     Actual damages in the amount of any losses the Plan suffered, to be

allocated among the participants’ individual accounts in proportion to the accounts’

losses;

      G.     An order enjoining Defendants from any further violations of their

ERISA fiduciary responsibilities, obligations, and duties;

      H.     Other equitable relief to redress Defendants’ illegal practices and to

enforce the provisions of ERISA as may be appropriate, including appointment of an

independent fiduciary or fiduciaries to run the Plan and removal of Plan fiduciaries

deemed to have breached their fiduciary duties;

      I.     An award of pre-judgment interest;

      J.     An award of costs pursuant to 29 U.S.C. § 1132(g);

      K.     An award of attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and the

common fund doctrine; and

      L.     Such other and further relief as the Court deems equitable and just.

Dated: November 13, 2020               By: /s/ David H. Fink
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